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IN THE UNITED STATES DISTRICT COURT FUED G?j? ~ mo
FOR THE WESTERN DISTRICT OF TENNESSEE 0 v
WESTERN DIVISION széY!? F,QFLS

 
 
  

TIM c. coMsTocK,

Plaintiff,

VS.

FEDERAL EXPRESS CORPORATION,
et al.,

Defendants.

amended as follows:

COMPLETING ALL DISCOVERY: June l7, 2005

FILING DISPOSITIVE MOTIONS: July 29, 2005

The dates previously set for the proposed joint pretrial

and jury trial, shall remain the same.

M

TU M. PHAM
United States Magistrate Judge

5_//7/65"

Date '

Order, pretrial conference,

IT IS SO ORDERED.

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TRICT C URT - WESTERN DT"ISIC oF TENNESSEE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:03-CV-02832 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

